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     Attorneys for Defendant
7    Davit Gasparyan, a/k/a David Gasparyan
8
                         UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                  WESTERN DIVISION
11
12   Consumer Financial Protection Bureau,        Case No. 2:16-cv-2725-PSG(Ex)
                                                  to be consolidated with:
13                           Plaintiff,           Case No. 2:15-cv-9692-PSG(Ex)
                                                  Case No. 2:16-cv-2724-PSG(Ex)
14         vs.
15   Davit Gasparyan, a/k/a David Gasparyan,      DEFENDANT’S NOTICE OF
                                                  MOTION AND MOTION TO
16                           Defendant.           CONSOLIDATE PRETRIAL
                                                  PROCEEDINGS IN RELATED
17                                                ACTIONS
18
     Consumer Financial Protection Bureau,        Date:       April 17, 2017
19                                                Time:       1:30 p.m.
                             Plaintiff,           Ctrm:       6A
20
           v.                                  [filed concurrently with [Proposed]
21   D and D Marketing, Inc., d/b/a T3Leads,   order]
     Grigor Demirchyan, and Marina Demirchyan,
22                                             Judge:         Hon. Philip S. Gutierrez
                              Defendants.      Courtroom: 6A
23
     Consumer Financial Protection Bureau,
24
                             Plaintiff,
25
           v.
26
     Dmitry Fomichev,
27
                             Defendant.
28

       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
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1
           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2
           PLEASE TAKE NOTICE THAT on April 17, 2017 at 1:30 p.m., or as soon
3
     thereafter as counsel may be heard by the above-entitled Court, located at First Street
4
     Courthouse, 350 West 1st Street, Courtroom 6A, 6th Floor, Los Angeles, California
5
     90012-4565, Defendant Davit Gasparyan will and hereby does respectfully move this
6
     Court, pursuant to Federal Rule of Civil Procedure 42, for an order consolidating
7
     pretrial proceedings in three related cases:
8
           (1) Consumer Financial Protection Bureau v. D and D Marketing, et al, CV
9
           15-9692 PSG (Ex);
10
           (2) Consumer Financial Protection Bureau v. Fomichev, CV 16-2724 PSG
11
           (Ex); and
12
           (3) Consumer Financial Protection Bureau v. Gasparyan, CV 16-2725 PSG
13
           (Ex);
14
     As these three cases all arise from the Consumer Financial Protection Bureau’s
15
     allegations that D and D Marketing, Inc. d/b/a T3Leads, violated the Consumer
16
     Financial Protection Act, and involve the same parties, identical legal claims and
17
     virtually identical factual allegations, judicial economy and the risk of inconsistent
18
     results demand consolidation of these cases for discovery and pre-trial matters.
19
           Further, Mr. Gasparyan asks that the Court adjourn the Scheduling Conference
20
     dates previously set in these three cases to a new date that will permit the parties to
21
     hold a joint Rule 26(f) Conference and all appear at one Scheduling Conference with
22
     the Court.
23
           This Motion is based on this Notice of Motion and Motion, the attached
24
     Memorandum of Law, the pleadings and papers on file, and upon such matters as may
25
     be presented to the Court at the time of the hearing.
26
           This motion is made following the conference of counsel pursuant to L.R. 7-3
27
     which took place on February 7, 2017. Defendant Fomichev has indicated that he
28

       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
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1    does not object to this Motion or the relief sought. The CFPB and defendants D and
2    D Marketing, Inc., d/b/a T3Leads (“T3”), Grigor Demirchyan , and Marina
3    Demirchyan have indicated that they will likely oppose the Motion .
4
5    DATED: February 14, 2017         REED SMITH LLP
6
7                                     /s/ Raffi Kassabian__________________
8                                     Abraham J. Colman (SBN 146933)
                                      Raffi Kassabian (SBN 260358)
9                                     Attorneys for Defendant
                                      DAVIT GASPARYAN, a/k/a DAVID
10                                    GASPARYAN
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
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1
                                   MEMORANDUM OF LAW
2
     I.      INTRODUCTION
3
             In 2015 and 2016, Plaintiff Consumer Financial Protection Bureau (“CFPB”),
4
     in three separate actions, alleged that D and D Marketing, Inc., d/b/a T3Leads (“T3”),
5
     and its founders and current and former officers, namely, Grigor and Marina
6
     Demirchyan, Dmitry Fomichev,1 and Davit Gasparyan, violated the Consumer
7
     Financial Protection Act (“CFPA”). In doing so, the CFPB filed three separate
8
     complaints, each of which identified the same actors, asserted the same legal claims,
9
     and made virtually the same factual allegations. Not surprisingly, therefore, when this
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     Court considered the motions to dismiss filed in each of these cases, it branded the
11
     three complaints as “related,” and issued one opinion on all three motions to dismiss.
12
     See November 17, 2016 Order Denying Defendants’ Motions to Dismiss (Dkt. 39)
13
     (“11/17/16 Order”) at 1.
14
             The parties to the three cases are now about to embark on discovery, with initial
15
     Rule 16(b) Scheduling Conferences set in the other related matters for March 20, 2017
16
     and for this matter on April 3, 2017. Undertaking discovery in such a disjointed
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     manner in three cases involving the same conduct and legal claims certainly does not
18
     conserve either judicial or party resources, and raises the clear risk of inconsistent
19
     rulings. Such overlap instead warrants that the Court consolidate the cases for the
20
     conduct of a streamlined pretrial process. Mr. Gasparyan, therefore, respectfully
21
     requests that this Court formally consolidate:
22
             (1) Consumer Financial Protection Bureau v. D and D Marketing, et al, CV
23
             15-9692 PSG (EX) (“CFPB v. D and D Marketing”);
24
             (2) Consumer Financial Protection Bureau v. Fomichev, CV 16-2724 PSG (Ex)
25
             (“CFPB v. Fomichev”); and
26
27   1
      Mr. Fomichev is a defendant in both CFPB v. D and D Marketing and CFPB v.
28   Fomichev.
                                                1
          DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                         RELATED ACTIONS
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1             (3) Consumer Financial Protection Bureau v. Gasparyan, CV 16-2725 PSG
2             (Ex) (“CFPB v. Gasparyan”),
3    for pretrial purposes2, and set an initial Scheduling Conference for all three cases on a
4    date that allows the parties sufficient time to conduct a joint Rule 26(f) Conference.3
5    II.      LEGAL STANDARD
6             District Courts have “broad discretion” under Federal Rule of Civil Procedure
7    42 to consolidate two or more “actions involving a common question of law or fact.”
8    Garity v. APWU National Labor Organization, 828 F.3d 848, 855-56 (quoting
9    Investors Research Co. v. U.S. Dist. Court for Cent. Dist. of Cal., 877 F.2d 777, 777
10   (9th Cir. 1989)); Fed. R. Civ. P. 42(a) (“Rule 42”). See also Yousefi v. Lockheed
11   Martin Corp., 70 F. Supp. 2d 1061, 1064-65 (C.D. Cal. 1999) (“The threshold
12   issue…is whether the actions involve common facts or legal issues.”) (citing
13   Enterprise Bank v. Saettele, 21 F.3d 233, 235 (8th Cir. 1994)). In exercising that
14   discretion, a court balances “the interest of judicial convenience against the potential
15   for delay, confusion and prejudice caused by consolidation.” Paxonet Commc’ns, Inc.
16   v. Transwitch Corp., 303 F. Supp. 2d 1027, 1029 (N.D. Cal. 2003) (citation omitted).
17   and Modesto Irrigation Dist. v. Gutierrez, Nos. 06-00453, 06-00308, 2007 WL
18   915228, at *4 (E.D. Cal. Mar. 26, 2007) (reiterating the two steps of a Rule 42(a)
19   inquiry: (1) whether the actions involve a common question of fact and (2) the
20   balance of interests of judicial convenience against the potential for prejudice caused
21   by consolidation).
22
23   2
      Mr. Gasparyan believes that consolidating through trial is premature at this time,
24   and that the parties should address such further consolidation, if at all, after the
     completion of discovery.
25
     3
26     Notably, the Demirchyans and Mr. Fomichev have both moved to certify issues for
     immediate appeal pursuant to 28 U.S.C. § 1292(B) and stay proceedings in the other
27   related matters. Mr. Gasparyan will be filing a Motion for Certification of
28   Interlocutory Appeal and Concomitant of Stay as well.
                                                 2
           DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                          RELATED ACTIONS
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1          “‘Considerations of judicial economy strongly favor simultaneous resolutions
2    of all claims growing out of one event.’” Dollens v. Zionts, 2001 WL 1543524, at *2
3    (N.D. Ill. Dec. 4, 2001) (quoting Ikerd v. Lapworth, 435 F.2d 197, 204 (7th Cir.
4    1970)). Courts repeatedly have expressed a preference for consolidation as a means of
5    “avoid[ing] unnecessary duplication of efforts in related cases and promot[ing]
6    judicial economy and efficiency.” B.P. Prods. N. Am., Inc. v. Bulk Petroleum Corp.,
7    2008 WL 4066106, at *5 (E.D. Wis. Aug. 27, 2008); see also U.S. v. Knauer, 149
8    F.2d 519, 520 (7th Cir. 1945) (“Rule 42(a)...was designed and intended to encourage
9    such consolidation where possible”).
10         The “potential burden on the parties[] [and] witnesses” that consolidating cases
11   will cause tempers a court’s consolidation analysis. Burnett v. Rowzee, 2007 WL
12   4191991, at *2 (C.D. Cal. Nov. 26, 2007) (citation omitted)). Consolidation for
13   pretrial purposes is appropriate when: “coordinated discovery allows the parties to
14   make and respond to fewer discovery requests…coordinate their motions to eliminate
15   unnecessary and duplicitous arguments…[and] help the Court and the parties sort out
16   the larger scheme at issue in [the] case.” Id., at *6. On the other hand, prejudice
17   exists under Rule 42 when one party is subjected to a “heavy burden” by
18   consolidation, such as “participating in voluminous pretrial discovery in a mammoth
19   proceeding that may last for years” when it was a “non-particip[ant] in most of the
20   alleged misconduct.” Garber v. Randell, 477 F.2d 711, 717 (2nd Cir. 1973)
21   (determining whether consolidation of suits during pretrial stages will outweigh
22   prejudice to an individual party such that it should be severed from the consolidation).
23   See also In re Equality Funding Corp. of America Securities Litigation, 416 F.Supp.
24   161, 176-77 (C.D. Cal. Jan. 23, 1976) (citing Garber and Katz v. Realty Equities
25   Corp., 521 F.2d 1354, 1360-62 (2nd Cir. 1975)). Lastly, consolidation does not
26   depend on party approval; in fact, the courts have the power to order consolidation sua
27   sponte over objection of the parties. Cantrell v. GAF Corp., 999 F2d 1007, 1011 (6th
28
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
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1    Cir. 1993).
2    III.   LEGAL ARGUMENT
3           A.     The Cases Share Common Questions of Law and Fact.
4           The CFPB’s claims against T3, the Demichyans, Mr. Fomichev and Mr.
5    Gasparyan share common questions of law or fact. As the Court noted when relating
6    these cases for determination of the motions to dismiss, the Demichyans, Mr.
7    Fomichev and Mr. Gasparyan are alleged founders and current or former members of
8    T3 management that purportedly “violated the [CFPA]” by allowing consumers “to be
9    exposed to lenders that could cause them substantial harm” and taking advantage of
10   “consumers’ lack of understanding of the material risks, costs, and conditions of their
11   loans.” 11/17/16 Order at 1-2, 4. In other words, the CFPB premises the liability for
12   each individual Defendant on the question of whether T3 violated the CFPA. See id.
13   at 18 (“The Court ultimately finds that the complaints raise a plausible inference of
14   illegal conduct as to all Defendants” because “[t]he CFPB alleges that T3 knew or
15   should have known that the leads that it provided…would result in void loans” and
16   “likely involved…fraudulent activity”); at 20 (The CFPB alleges “that both [the
17   Demirchyans] had significant responsibility in managing T3 and its operations” giving
18   them “authority and responsibility” over T3’s allegedly illegal conduct such that they
19   were “more than incidentally involved in T3’s business.”); at 22 (The CFPB
20   sufficiently alleges that Mr. Fomichev’s knowledge, involvement with T3 and
21   “awareness of the interplay among consumers, generators, and purchasers, is enough
22   to raise a plausible inference that [Mr. Fomichev] is liable for substantially assisting
23   T3 in a violation of the CFPA.”); and at 22 (“Like the other complaints” the facts
24   alleged against Mr. Gasparyan regarding his work with T3 “raise[] a plausible
25   inference that [Mr. Gasparyan’s] conduct is linked to the consumer harm.”).
26          Because adjudication of the issue of whether T3’s alleged business practices
27   and conduct violated the CFPA will necessarily overlap in the adjudication of the
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        DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                       RELATED ACTIONS
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1    exact same CFPA claims CFPB alleges against Mr. Fomichev and Mr. Gasparyan, all
2    three cases involve common questions of law and fact.
3          B.     Consolidation Will Promote Judicial Economy.
4          Consolidation of these three cases for pretrial purposes will promote the
5    purpose of Rule 42(a) – judicial economy – throughout the pretrial phase. Indeed,
6    case scheduling, discovery, dispositive motions, and early resolution would all run
7    more efficiently if these matters are consolidated. For example, scheduling
8    conferences in two of the matters are currently set to occur on March 20, 2017 (CFPB
9    v. D and D Marketing and CFPB v. Fomichev) and April 3, 2017 in the instant matter
10   (CFPB v. Gasparyan). Thus, by consolidating these three (3) related cases, this Court
11   can further promote judicial economy by holding these conferences together, such that
12   the parties can work to avoid duplication of discovery efforts, eliminate redundant
13   practices, and coordinate schedules to set realistic timelines to adjudicate these matters
14   without subjecting the parties to unnecessary repetition of efforts, expenses, and costs.
15   On the other hand, not consolidating these cases will lead to repetitious scheduling,
16   redundant motions practice, multiple depositions of the same witnesses, repeated
17   production of the same documents, and unnecessarily inflated costs. These
18   unnecessary complications can be avoided by consolidating the cases. See Robbins v.
19   Pepsi-Cola Met. Bottling Co., 1985 WL 5130 (N.D. Ill. Dec. 26, 1985) (granting
20   motion to consolidate actions involving similar parties and counsel, noting that
21   “consolidation of these cases will actually operate to avoid or minimize duplication of
22   the court’s and both parties’ counsel’s time in common issues of discovery or
23   common issues that need to be researched and briefed.”).
24         C.     Consolidation Will Avoid Inconsistent Results.
25         For the pretrial stage, “consolidation of actions… will, under many
26   circumstances, be a desirable administrative technique,” as it avoids unnecessary costs
27   and delay. Firemen’s Ins. Co. of Newark, N.J. v. Keating, 753 F.Supp. 1137, 1141
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
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1    (S.D. N.Y. Dec. 13, 1990) (quoting 9 Wright & Miller, Federal Practice and
2    Procedure § 2382 at 257 (1971) (citing MacAlister v. Guterma, 263 F.2d 65, 68 (2d
3    Cir. 1958))). Here, coordinated discovery would allow the parties to make and
4    respond to fewer requests, coordinate their motions to eliminate unnecessary and
5    duplicitous arguments, and help the Court and the parties sort out the larger scheme at
6    issue. Burnett, 2007 WL 4191991, at *6.
7          Furthermore, consolidation “not only enhances judicial efficiency by avoiding
8    unnecessary duplication of evidence and procedures, but it also guards against the risk
9    of inconsistent adjudications.” EEOC v. HBE Corp., 135 F.3d 543, 550-51 (8th Cir.
10   1998); see also, e.g., Sylverne v. Data Search N.Y., Inc., 2008 WL 4686163, at *2
11   (N.D. Ill. May 28, 2008)(consolidation promotes consistency of results); Cadillac Ins.
12   Co. v. American Nat’l Bank of Schiller Park, 1992 WL 58786, at *8 (N.D. Ill. Mar.
13   12, 1992) (“One of the main objectives of consolidation is to avoid a situation where
14   there might be conflicting results from separate actions.”). Allowing these cases to
15   proceed independently, however, risks inconsistent agreements or decisions as to the
16   scope and timing of discovery, as well as treatment of confidential information.
17   Further, the CFPB may unfairly gain a second or third bite of the apple on discovery
18   decisions as it can raise matters decided in one case in a subsequent case, and thus
19   gain access to discovery it was not able to obtain in the first action. Only by allowing
20   the discovery in these cases to proceed on the same schedule and subject to the same
21   orders will ensure that the Court avoids the imposition of inconsistent discovery
22   obligations upon the parties.
23         D.     Consolidation Will Not Prejudice Any Party.
24         Finally, in considering this motion, the Court must consider whether
25   consolidation would cause any party undue prejudice. Single Chip Sys. Corp. v.
26   Intermec IP Corp., 495 F. Supp. 2d. 1052, 1057 (S.D. Cal. 2007). Here, all three
27   cases are at roughly the same point, namely, the start of the discovery process. Thus,
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
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 1   no party will be subject to duplication of discovery or delayed in the prosecution of its
 2   case if instead of repeating three courses of discovery, the parties to the three cases
 3   conduct joint discovery conferences and hearings, execute written and oral discovery
 4   on the same schedule, jointly address expert issues, and complete together all pre-trial
 5   procedures necessary for trial. Moreover, no defendant will be subjected to a “heavy
 6   burden” by consolidating the cases for pretrial purposes. Garber, 477 F.2d 711, 717.
 7   Instead, consolidation will benefit the parties by avoiding duplication of efforts and
 8   reducing discovery costs. See Sylverne, 2008 WL 4686163, at *1-3 (finding that,
 9   rather than being prejudiced by consolidation, defense would benefit from cost
10   savings and avoidance of duplication of effort); Magnavox Co. v. APF Electronics,
11   Inc., 496 F. Supp. 29, 32-33 (N.D. Ill. 1980) (finding that consolidation would not
12   prejudice parties, and would instead benefit the court and the parties by eliminating
13   duplication of effort).
14   IV.   CONCLUSION
15         Consolidation of these three cases for discovery and pre-trial procedures will
16   conserve substantial judicial and party resources, minimize duplication of efforts for
17   the parties and negate any possibility of inconsistent findings, rulings and judgments.
18   Moreover, consolidation of the actions will not result in any prejudice to any party.
19   For these reasons, Mr. Gasparyan respectfully requests that this Court consolidate
20   pretrial proceedings in: Consumer Financial Protection Bureau v. Gasparyan, CV
21   16-2725 PSG (Ex); Consumer Financial Protection Bureau v. D and D Marketing, et
22   al, CV 15-9692 PSG (Ex); and Consumer Financial Protection Bureau v. Fomichev,
23   CV 16-2724 PSG (Ex). Further, given that the Court presently has two separate
24   Scheduling Conferences set for these related cases, Mr. Gasparyan further requests
25   that the Court adjourn these dates and set one date in all three cases that allows the
26   parties to conduct a joint Rule 26(f) conference at least 21 days prior to such
27   Scheduling Conference.
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
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 1   DATED: February 14, 2017        REED SMITH LLP

 2
 3                                   /s/ Raffi Kassabian__________________
                                     Abraham J. Colman (SBN 146933)
 4                                   Raffi Kassabian (SBN 260358)
                                     Attorneys for Defendant
 5                                   DAVIT GASPARYAN, a/k/a DAVID
                                     GASPARYAN
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
Case 2:15-cv-09692-PSG-E Document 71 Filed 02/14/17 Page 12 of 12 Page ID #:458




 1                            ATTESTATION OF SIGNATURE
           I, Raffi Kassabian, am the ECF User whose ID and Password were used to
 2
     electronically file Defendant’s Motion to Consolidated Pretrial Proceedings in
 3
     Related Actions. Pursuant to Central District of California Local Rule 5-4.3.4(a)(2), I
 4
     hereby attest that all other signatories listed, and on whose behalf this filing is
 5
     submitted, concur in the content of this filing and have authorized the electronic filing
 6
     thereof.
 7
 8   DATED: February 14, 2017
 9
                                            /s/ Raffi Kassabian
10                                          Raffi Kassabian
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN
                                      RELATED ACTIONS
